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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ABEL GARZA,                          §
                                     §
               Plaintiff,            §
                                     §
       v.                            §          CIVIL ACTION NO. 3:23-cv-00027-D
                                     §
ENERGY      TRANSFER       PARTNERS, §
L.L.C. and LA GRANGE ACQUISITION, §
L.P.,                                §
                                     §
               Defendants.
                                     §

BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


Date: January 4, 2024                        Respectfully submitted,


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                                             and LA GRANGE ACQUISITION, L.P.




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   88 F.3d 861, 866 (10th Cir.1996), cert. denied, 519 U.S. 1056, 117 S.Ct. 684,
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ABEL GARZA,                          §
                                     §
               Plaintiff,            §
                                     §
       v.                            §                CIVIL ACTION NO. 3:23-cv-00027-D
                                     §
ENERGY      TRANSFER       PARTNERS, §
L.L.C. and LA GRANGE ACQUISITION, §
L.P.,                                §
                                     §
               Defendants.
                                     §
    BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants Energy Transfer Partners, L.L.C. (“Energy Transfer”) 1 and La Grange

Acquisition, L.P. (“La Grange”) (collectively, the “Company” or “Defendants”) file this Brief in

Support of their Motion for Summary Judgment and respectfully show the Court as follows:

                                   I.      INTRODUCTION

       Plaintiff, a former Plant Operator for La Grange, is unable to establish that he was

discriminated or retaliated against because of his age, disability, or military status. Instead, the

undisputed evidence shows that La Grange terminated Plaintiff’s employment because he could

no longer perform the essential functions of his position, with or without reasonable

accommodation. The Company notified Plaintiff on several occasions that it could not identify

any available accommodation that would allow him to perform the essential functions of his

position or any other available position. With this knowledge, Plaintiff did not return to work and

instead remained on a leave of absence for nearly nine months until his employment was


1
  Plaintiff has improperly named Energy Transfer Partners L.L.C. as a Defendant in this matter.
Plaintiff was employed by La Grange Acquisition, L.P. at all relevant times and La Grange
Acquisition, L.P. is the proper Defendant in this matter. Energy Transfer should be dismissed
from this action for this reason alone.


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terminated due to his failure to return to work. Because Plaintiff cannot establish the essential

elements of his discrimination and retaliation claims, and because he cannot overcome La

Grange’s legitimate, nondiscriminatory reason for his termination, Defendants ask the Court to

grant their Motion and dismiss Plaintiff’s claims in their entirety.

                                 II.    FACTUAL BACKGROUND

A.        La Grange’s Business and its Equal Employment Opportunities.

          La Grange is a subsidiary and employing entity of Energy Transfer, a natural gas pipeline

company that, among other things, transports and stores natural gas, natural gas liquids, crude oil,

and refined products throughout the country. (App. at 210) 2. La Grange is an equal opportunity

employer that does not discriminate based on age, disability, veteran status, or any other protected

characteristic. (App. at 287-289, 291) 3. La Grange is also committed to complying with the

Americans with Disabilities Act (“ADA”), as well as any similar state and local laws, and

considers reasonable accommodations for all qualified disabled employees or applicants upon

request. (App. at 297-298) 4. La Grange strictly forbids any form of retaliation that is directed

toward an employee because he or she has raised concerns of unlawful discrimination, reported

violations of the EEO and Anti-Discrimination policy or the Disability Accommodation policy, or

because he or she has filed a charge of unlawful discrimination. (App. at 295-296) 5. Plaintiff was

fully aware of La Grange’s policies and acknowledged that he read and understood these policies.

(App. at 83) 6.



2
    Exhibit 2, Velasco Depo., 16:14-22.
3
    Exhibit 6, Ariza Decl., ¶3; Exhibit 6-A, Employee Handbook, pg. 10.
4
    Exhibit 6-A, Employee Handbook, pg. 16-17.
5
    Exhibit 6, Employee Handbook, pg. 14-15.
6
    Exhibit 1, Plaintiff Depo., 81:1-11 .


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B.        Plaintiff’s Job Duties as a Plant Operator.

          La Grange hired Plaintiff on or around July 20, 2015, at the King Ranch Gas Plant in

Kingsville, Texas. (App. at 71,72-73) 7. Although originally hired as a Plant Operator C, Plaintiff

was eventually promoted to Plant Operator A. (App. at 72, 75) 8. The primary function of the King

Ranch Gas Plant is to collect product at the plant, clean the product, chemically separate the

product, and then move the product through pipelines downstream to other plants. (App. at 254-

255) 9. The Plant Operator position is responsible for the operation of compressors, motors, cooling

equipment, pumps, valves, pipelines and other related gas processing equipment. (App. at 287-

289, 301-303, 77) 10. More specifically, Plaintiff’s job duties as a Plant Operator included:

             •   Operating, inspecting, and maintaining equipment and systems at the King Ranch
                 Plant in a reliable and efficient manner while in compliance with Energy Transfer
                 and La Grange policies;

             •   Responding to alarms and problems within the plant and taking corrective
                 measures;

             •   Monitor and control pressures, temperatures, flow rates, and levels to efficiently
                 achieve desired operating results;

             •   Oversee the construction and/or maintenance activities performed by third parties;

             •   Working independently and exercising good judgment;

             •   Working in a 24/7 operational environment, shift rotations, and performing call
                 outs 24/7;

             •   Reacting to high stress/emergency situations in a deliberate, thoughtful, and timely
                 manner; and



7
    Exhibit 1, Plaintiff Depo., 69:17-19, 70:22-71:1.
8
    Exhibit 1, Plaintiff Depo., 70:11-16, 73:6-12.
9
    Exhibit 4, R. Garza Depo., 44:11-45:3.
10
  Exhibit 6, Ariza Decl., ¶3; Exhibit 6-B, Job Description – Plant Operator; Exhibit 1, Plaintiff
Depo., 75:4-13.


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             •   Working in confined spaces and around loud machinery.

(App. at 301-303, 77-78, 79-81) 11. These duties were part of the essential functions of Plaintiff’s

job as a Plant Operator at the King Ranch gas plant. (Id.).

C.        Plaintiff’s Accommodation Request and the Interactive Process.

          In April of 2021, Plaintiff notified Clarissa Velasco, Supervisor – Leave Administration,

that he needed medical accommodations related to PTSD/Anxiety/Depression. (App. at 90, 269) 12.

Specifically, Plaintiff requested being moved to another area of the Plant, such as the shipping

station, moving to a safety representative position, or having someone else work with him in case

he had problems performing his regular duties. (App. at 90-91, 269) 13. Upon receiving this request,

the Company followed its normal process for determining Plaintiff’s functional limitations and

considering whether there were any reasonable accommodations available that would allow

Plaintiff to perform the essential functions of his job. (App. at 211) 14. As part of these efforts, the

Company reached out to Plaintiff’s doctor, Dr. Jeremy Waddell, for additional documentation on

Plaintiff’s medical condition in order to evaluate Plaintiff’s functional limitations. (App. at 211). 15

Dr. Waddell stated that Plaintiff would function best in an open, minimally restrictive

environment, with predictable and/or manualized tasks to complete, and that having an

environment free from loud and unexpected stimuli would allow Plaintiff to function at a higher




11
  Exhibit 6-B, Job Description – Plant Operator ; Exhibit 1, Plaintiff Depo., 75:14-76:2, 77:13-
79:16). (emphasis added).
12
     Exhibit 1, Plaintiff Depo., 88:17-20; Exhibit 5-A, 2021-04-01 Email from Plaintiff.
13
     Exhibit 1, Plaintiff Depo., 88:21-89:11; Exhibit 5-A, 2021-04-01 Email from Plaintiff.
14
     Exhibit 2, Velasco Depo., 44:8-20.
15
     Exhibit 2, Velasco Depo., 44:8-25.


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level. (App. at 274, 104-105, 212, 214-215) 16.

          Shortly after the Company received this information from Dr. Waddell, Plaintiff requested

to take time away from work and was approved for short-term disability leave (“STD leave”).

(App. at 108-110) 17. Plaintiff remained on STD leave until January 6, 2022. (App. at 116) 18. In the

meantime, in August of 2021, Dr. Waddell provided Plaintiff with a release to return to work with

temporary restrictions, which included (1) movement to less restrictive environment; (2)

movement to a less noisy environment; and (3) movement to a more predictable work environment.

(App. at 276-277, 114) 19. Given the nature of Plaintiff’s job duties, it was evident to the Company

that Plaintiff was unable to perform the essential functions of his Plant Operator job with these

restrictions, and the Company was unable to identify any available accommodation that would

have allowed him to do so; accordingly, the Company notified Plaintiff by letter on October 22,

2021, that it could not accommodate him. (App. at 278, 116-117, 218-219) 20. However, the

Company encouraged Plaintiff to submit additional information for it to consider in order to

determine whether any alternative accommodations were possible. (Id.).

D.        Plaintiff Could Not Perform the Essential Functions of His Job and There Were No
          Other Available Positions for Him.

          Following the receipt of additional information from Plaintiff, the Company continued to

work towards finding a solution for Plaintiff that would accommodate his disability. (App. at




16
  Exhibit 5-B, ADA Questionnaire from Dr. Waddell; Exhibit 1, Plaintiff Depo., 102:16-103:2;
Exhibit 2, Velasco Depo., 69:20-70:2, 71:17-72:2.
17
     Exhibit 1, Plaintiff Depo., 106:8-11, 106:19-108:8.
18
     Exhibit 1, Plaintiff Depo., 114:7-16.
19
     Exhibit 5-C, Work Release; Exhibit 1, Plaintiff Depo., 112:15-19.
20
  Exhibit 5-D, 2021-10-22 Letter Regarding Accommodation; Exhibit 1, Plaintiff Depo., 114:17-
115:4; Exhibit 2, Velasco Depo., 116:25-117:9.


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222) 21. Ms. Velasco spoke with Plaintiff’s supervisors about potentially modifying the job duties

of a Plant Operator. (App. at 264-265) 22. Given the nature of the Plant Operator position, however,

the Company was unable to provide Plaintiff with a less noisy, more open, less restrictive, and

more predictable environment because doing so would require eliminating the essential functions

of the Plant Operator position. (App. at 301-303, 282-283, 218-219) 23. Accordingly, the Company

considered whether there were any other positions that Plaintiff could perform with his restrictions.

(App. at 220) 24.

          In terms of positions at the King Ranch gas plant, Plaintiff requested that he be placed in a

warehouse position, a shipping station position, or a safety position. (App. at 279-280, 118, 120) 25.

But none of these positions were available at the time. (App. at 220) 26. Plaintiff expressed interest

in the warehouseman position because the current employee who held the position was retiring;

however, upon her retirement, the Company decided not to backfill the position and instead

absorbed the duties into other roles. (App. at 144, 256) 27. The safety position was also not

available, as another employee at the King Ranch gas plant was already in that position. (App. at

252-253, 258) 28. And the Company also decided not to backfill the former shipping station

position in light of the modernization of the plant and the need for operators to train and be certified



21
     Exhibit 2, Velasco Depo., 175:17-22
22
     Exhibit 5, Velasco Decl., ¶3
23
  Exhibit 6-B, Job Descriptions; Exhibit 5-G, 2021-11-23 Letter; Exhibit 2, Velasco Depo.,
116:25-117:9
24
     Exhibit 2, Velasco Depo., 153:17-22
25
     Exhibit 5-E, 2021-11-01 Letter from Plaintiff; Exhibit 1, Plaintiff Depo., 116:10-13, 120:5-24
26
     Exhibit 2, Velasco Depo., 155:3-6
27
     Exhibit 1, Plaintiff Depo., 142:3-11; Exhibit 4, R. Garza Depo., 50:10-17
28
     Exhibit 4, R. Garza Depo., 24:21-22, 25:23-25, 64:11-18


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in all plant areas. (App. at 159, 217, 223-224, 257) 29. But even if these positions had been available,

they would not have offered Plaintiff a less restrictive, less noisy, and more predictable

environment due to the nature of the work environment in the warehouse. (App. at 282-283) 30.

And while Plaintiff also expressed interest in a recruiting position with human resources, Plaintiff

did not have the required educational background to fill the position because he did not have a

bachelor’s degree in a business-related field. (App. at 155, 287-288, 304) 31. Accordingly, none of

the positions Plaintiff identified amounted to reasonable accommodations of Plaintiff’s medical

limitations.

          Plaintiff also applied, and was interviewed for, a safety representative position at another

plant in October of 2021. (App. at 124, 126-127) 32. In addition to Plaintiff, Michael Johnson,

Director of Operations STX, interviewed five other individuals for the open position. (App. at 127-

128, 239-240) 33. Following the interviews, Mr. Johnson selected Matthew Thomas, a veteran, for

the safety representative position (App. at 305, 132-133, 225) 34 and provided a detailed

explanation of the reasoning for the decision, including Mr. Thomas’s qualifying experience for

the role. (App. at 306, 308) 35. Once Mr. Thomas cleared his background check and drug testing,




29
   Exhibit 1, Plaintiff Depo., 157:7-21; Exhibit 2, Velasco Depo., 104:6-12, 183:23-184:1; Exhibit
4, R. Garza Depo., 59:3-11.
30
     Exhibit 5-G, 2021-11-23 Letter Regarding Accommodations.
31
  Exhibit 1, Plaintiff Depo., 153:9-21; Exhibit 6, Ariza Decl., ¶3; Exhibit 6-C, Job Description for
Recruiting Position.
32
     Exhibit 1, Plaintiff Depo., 122:14-16, 124:11-17, 125:2-4.
33
     Exhibit 1, Plaintiff Depo., 125:20-126:5; Exhibit 3, De La Vega Depo., 21:23-22:2.
34
  Exhibit 7, Johnson Decl., ¶3; Exhibit 1, Plaintiff Depo., 130:20-131:9; Exhibit 2, Velasco Depo.,
204:15-19.
35
     Exhibit 7, Johnson Decl., ¶5; Exhibit 7-A, Justification for Matthew Thomas.


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the Company notified Plaintiff that he did not receive the position. (App. at 241, 173) 36. Although

Plaintiff now believes Mr. Johnson’s decision not to select him for the position was discriminatory,

Plaintiff admits that at no point during the interview or afterwards did Mr. Johnson make any

negative comment about Plaintiff’s disability, his age, or his military service. (App. at 130) 37.

E.        Plaintiff is Terminated Because He is Unable to Return to Work.

          By the very beginning of 2022, Plaintiff was fully aware that none of the positions he

expressed interest in were available and that the Company could not accommodate him otherwise

because doing so would require the elimination of one or more essential functions of his job. Yet,

Plaintiff did not apply for any other positions at the Company or suggest any other possible

accommodations. (App. at 161, 165, 169) 38. Instead, Plaintiff remained on leave for several more

months and did not return to work. (App. at 284-286) 39. On April 20, 2022, Ms. Velasco sent

Plaintiff a letter that again detailed the reasons why the Company could not accommodate Plaintiff

and provided him one more opportunity to return to work. (App. at 266, 284-286, 170) 40. By this

point, Plaintiff had been on leave for nearly nine months and La Grange could not permit him to

remain on leave indefinitely. (App. at 285) 41. Accordingly, when Plaintiff did not return to work

on April 25, 2022, La Grange terminated his employment for failure to return to work. (App. at

226, 285) 42.


36
     Exhibit 3, De La Vega Depo., 32:7-9; Exhibit 1, Plaintiff Depo., 171:5-10.
37
     Exhibit 1, Plaintiff Depo., 128:2-14.
38
     Exhibit 1, Plaintiff Depo., 159:14-23, 163:20-22, 167:8-19.
39
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.
40
  Exhibit 5, Velasco Decl., ¶11; Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work;
Exhibit 1, Plaintiff Depo., 168:3-7.
41
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.
42
 Exhibit 2, Velasco Depo., 224:20-23; Exhibit 5-H, 2022-04-20 Letter Regarding Return to
Work.


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                               III.    PROCEDURAL POSTURE

       Plaintiff filed a Charge of Discrimination with the Equal Employment Opportunity

Commission (“EEOC”) and Texas Workforce Commission (“TWC”) on or about January 4, 2022.

[Doc. #1-3, pg. 19, ¶9]. Plaintiff received his right to sue letter on or about October 11, 2022 [Doc.

#1-3, pg. 19, ¶10] and filed his Original Petition in the 95th Judicial District Court of Dallas

County, Texas, on November 21, 2022. [Doc. #1-3, pg. 17]. Plaintiff’s Original Petition alleges

claims of discrimination and retaliation based on his age and disability under Chapter 21 of the

Texas Labor Code, also known as the Texas Commission on Human Rights Act (“TCHRA”), as

well as claims of retaliation and discrimination under the Uniformed Services Employment and

Reemployment Rights Act (USERRA). [Doc. #1-3, pg. 24-29, ¶32-72]. Defendants removed the

case to this Court on January 5, 2023. [Doc. #1].

                IV.     SUMMARY JUDGMENT STANDARD OF REVIEW

       Summary judgment is proper when “the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, show there is no genuine issue as to any

material fact and that the moving party is entitled to summary judgment as a matter of law.” FED.

R. CIV. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Matsushita Elec. Indus., Co.,

Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). In determining whether issues of fact exist

requiring a trial, “the inferences to be drawn from the underlying facts… must be viewed in the

light most favorable to the party opposing the motion.” Matsushita, 475 U.S. at 587 (quoting

United States v. Diebold, Inc., 369 U.S. 654, 655 (1962)).

       The moving party has the initial burden of showing no genuine issue of material fact exists.

Celotex, 477 U.S. at 322-23. Summary judgment must be entered if the nonmoving party fails to

provide sufficient evidence on an essential element to that party’s case on which the party will

bear the burden of proof at trial. Id . The nonmoving party must present more than a mere scintilla


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of evidence and “may not rest upon the mere allegations or denials of his pleading, but… must set

forth specific facts showing that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 252 (1986); FED. R. CIV. P. 56(e) (emphasis added). A party may not defeat a motion

for summary judgment by relying on hearsay, conclusions, unsubstantiated assertions, conjecture,

or subjective beliefs. Bodenheimer v. PPG Indust., Inc., 5 F.3d 955, 959 (5th Cir. 1993).

                          V.      ARGUMENTS AND AUTHORITIES

A.       Plaintiff’s Disability Discrimination Claims Fail as a Matter of Law Because He
         Cannot Make Out a Prima Facie Case or Show Pretext for Discrimination.

         Plaintiff argues that Defendants discriminated against him on the basis of his disability by

terminating his employment. 43 As explained below, Plaintiff cannot establish a prima facie case

of disability discrimination under the TCHRA 44 because there is no evidence that Plaintiff was

qualified for his position or that there is a causal connection between his alleged disability and his

termination. To establish a prima facie case of disability discrimination, Plaintiff must prove: (1)

that he has a disability; (2) that he was qualified for the job; (3) that he was subject to an adverse

employment decision on account of his disability, i.e., there was a “causal nexus,” i. e., “causal

connection,” between the adverse employment action and his disability, and [4] that he was

replaced by or treated less favorably than non-disabled employees. E.E.O.C. v. LHC Group, Inc.,

773 F.3d 688, 697 (5th Cir. 2014); Burns v. Nielsen, 456 F. Supp. 3d 807, 824 (W.D. Tex. 2020);

McInnis v. Alamo Cmty. Coll. Dist., 207 F.3d 276, 279–80 (5th Cir. 2000). In a discriminatory

termination action under the TCHRA, Plaintiff may either present direct evidence that he was


43
   Plaintiff has not made a claim of “failure to accommodate” under the TCHRA. See Plaintiff’s
Original Petition [Dkt. No. 1-3, pg. 17], which pleads only a discrimination claim, not a failure-
to-accommodate claim.
44
  Because the TCHRA “‘parallels the language of the [ADA]’, Texas Courts follow ADA law in
evaluating TCHRA discrimination claims.” Williams v. Tarrant Cnty. Coll. Dist., 717 F. App'x
440, 444–45 (5th Cir. 2018) (quoting Pegram v. Honeywell, Inc., 361 F.3d 285–87 (5th Cir. 2004)).


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discriminated against because of his disability or alternatively proceed under the burden-shifting

analysis first articulated in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S.Ct. 1817, 36

L.Ed.2d 668 (1973); Neely v. PSEG Tex., Ltd. P'ship, 735 F.3d 242, 245 (5th Cir.2013). This

burden-shifting framework first requires Plaintiff to establish a prima facie case of discrimination.

See E.E.O.C. v. Chevron Phillips Chem. Co., 570 F.3d 606, 615 (5th Cir.2009). If Plaintiff is able

to meet this burden, then the Company must articulate a legitimate, nondiscriminatory reason for

terminating him. See id. The burden then shifts back to Plaintiff, who must demonstrate that the

Company’s proffered reason is pretextual in order to avoid summary judgment. See id.

          i.    Plaintiff Was Not Qualified for His Position as a Plant Operator.

        Plaintiff cannot make a prima facie case of disability discrimination because he cannot

show that he was qualified for his position as a Plant Operator. On the contrary, the undisputed

evidence shows that Plaintiff could not perform the essential functions of his job and there were

no reasonable accommodations that would have enabled Plaintiff to perform those duties.

        To avoid summary judgment, Plaintiff must show that either (1) he could “perform the

essential functions of the job in spite of [his] disability,” or, if he could not, (2) that “a reasonable

accommodation of [his] disability would have enabled [him] to perform the essential functions of

the job.” LHC Group, Inc., 773 F.3d at 697 (citing Turco v. Hoechst Celanese Corp., 101 F.3d

1090, 1093 (5th Cir.1996) (per curiam) (citing the ADA, 42 U.S.C. § 12111(8), which defines

“qualified individual” as “an individual who, with or without reasonable accommodation, can

perform the essential functions of the employment position ...”)). A function is “essential” if it

bears “more than a marginal relationship” to the employee's job. Chandler v. City of Dall., 2 F.3d

1385, 1393 (5th Cir.1993), holding modified on other grounds as discussed in Kapche v. City of

San Antonio, 304 F.3d 493 (5th Cir.2002) (per curiam).

        Here, it is undisputed that the essential functions of Plaintiff’s job included the ability to


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work independently, respond to alarms and problems within the plant while taking corrective

measures, react to high stress/emergency situations in a deliberate, thoughtful, and timely manner,

and work in confined spaces and around loud machinery (App. at 301-303, 77-81) 45. See LHC

Group, Inc., 773 F.3d at 697–98 (stating that courts owe deference to a company’s job description

and “consideration shall be given to the employer's judgment as to what functions of a job are

essential, and if an employer has prepared a written description before advertising or interviewing

applicants for the job, this description shall be considered evidence of the essential functions of

the job.” 42 U.S.C. § 12111(8)). But Plaintiff told the Company that he could not be around loud

noises and alarms because it would cause anxiety and flashbacks (App. at 57, 90, 269) 46, admitted

that he could not perform the Plant Operator position alone (App. at 95) 47, and stated that he could

not return to a position in the powerhouse (App. at 121) 48. Further, the restrictions Plaintiff

received from his doctor included movement to less restrictive environment, movement to a less

noisy environment, and movement to a more predictable work environment. (App. at 277, 114) 49.

By his own statements, as reinforced by his doctor’s orders, Plaintiff could not perform the

essential functions of his Plant Operator position because he was required to respond to alarms,

work independently, react to high stress and emergency situations, work in confined spaces, and

work around loud machinery. (App. at 301-303) 50. Because the accommodation Plaintiff was

requesting was to remove those essential functions from his regular duties, he was not qualified


45
  Exhibit 6-B, Job Description – Plant Operator; Exhibit 1, Plaintiff Depo., 75:14-76:2, 77:13-
79:16
46
     Exhibit 1, Plaintiff Depo., 55:7-12, 88:17-20; Exhibit 5-A, 2021-04-01 Email from Plaintiff
47
     Exhibit 1, Plaintiff Depo., 93:23-25
48
     Exhibit 1, Plaintiff Depo., 119:1-11
49
     Exhibit 5-C, Work Release; Exhibit 1, Plaintiff Depo., 112:15-19
50
     Exhibit 6-B, Job Descriptions – Plant Operator


                                                 12
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for his Plant Operator position as a matter of law. See Barber v. Nabors Drilling U.S.A., Inc., 130

F.3d 702, 709 (5th Cir.1997) (“We cannot say that [an employee] can perform the essential

functions of the job with reasonable accommodation, if the only successful accommodation is for

[the employee] not to perform those essential functions.”); see also Rogers v. Int'l Marine

Terminals, Inc., 87 F.3d 755, 759 (5th Cir. 1996) (citing Carr v. Reno, 23 F.3d 525, 530

(D.C.Cir.1994) (stating that an essential element of any job is the ability to appear for work).

         Nor was there any reasonable accommodation La Grange could have provided that would

have enabled Plaintiff to perform those essential job functions. The ADA defines “reasonable

accommodations” to include:

                job restructuring, part-time or modified work schedules,
                reassignment to a vacant position, acquisition or modification of
                equipment or devices, appropriate adjustment or modifications of
                examinations, training materials or policies, the provision of
                qualified readers or interpreters, and other similar accommodations
                for individuals with disabilities.

42 U.S.C. § 12111(9)(B). As explained above, Plaintiff’s requested accommodations included

being moved to another position – including a position at shipping station, a warehouse position,

a safety representative position, and a recruiting position – or to have someone work alongside

him to be able to assist him “if there [were] problems.” (App. at 269, 279-280, 118, 122, 153) 51.

None of these proposed accommodations were reasonable, as a matter of law.

         First, Plaintiffs’ request to be moved to another position was not reasonable because the

positions he identified either did not exist, or he was not qualified for the role. “For the

accommodation of a reassignment to be reasonable, it is clear that a position must first exist and

be vacant.” Silva v. City of Hidalgo, Tex., 575 Fed. Appx. 419, 423 (5th Cir. 2014) (citing Foreman


51
  Exhibit 5-A, 2021-04-01 Email from Plaintiff; Exhibit 5-E, 2021-11-01 Letter from Plaintiff;
Exhibit 1, Plaintiff Depo., 116:10-13, 120:5-24, 151:17-23.


                                                 13
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v. Babcock & Wilcox Co., 117 F.3d 800, 810 (5th Cir.1997). As explained above, the positions

Plaintiff requested were either not open or were not going to be back-filled. (App. at 221) 52. For

example, the Company had already planned to not fill the warehouse position (App. at 144, 256) 53,

the shipping station position was being eliminated due to modernization of the plant, (App. at 159,

217) 54, and another individual already held the position of safety representative (App. at 252-253,

258) 55. Even the recruiting position was not a viable option because Plaintiff did not meet the

qualification of having a bachelor’s degree in a business-related field. (App. at 155, 304) 56. See

Silva, 575 Fed. Appx. at 423 (citing Jenkins v. Cleco Power, LLC, 487 F.3d 309, 315 (5th

Cir.2007)) (stating that a plaintiff bears the burden of proving that an available position existed

that he was qualified for and could, with reasonable accommodations, perform). Although Plaintiff

did apply for another safety representative at a different plant, the director of that plant made the

decision to hire a different individual whom he deemed more qualified. (App. at 305, 132, 225) 57.

And because the safety position still would have required Plaintiff to work in a loud environment,

Plaintiff was not qualified for the role in any event. (App. at 282-283) 58.

          Plaintiff’s request for the Company to assign someone to follow Plaintiff around and

perform his essential job duties if one of Plaintiff’s episodes arose was likewise unreasonable. As

explained above, an essential function of the Plant Operator position is the ability to work



52
     Exhibit 2, Velasco Depo., 155:3-6
53
     Exhibit 1, Plaintiff Depo., 142:3-11; Exhibit 4, R. Garza Depo., 50:10-17
54
     Exhibit 1, Plaintiff Depo., 157:7-21; Exhibit 2, Velasco Depo., 104:6-12
55
     Exhibit 4, R. Garza Depo., 24:21-22, 25:23-25, 64:11-18
56
     Exhibit 1, Plaintiff Depo., 153:9-21; Exhibit 6-C, Job Description for Human Resources Position
57
  Exhibit 7, Johnson Decl., ¶3; Exhibit 1, Plaintiff Depo., 130:20-131:9; Exhibit 2, Velasco Depo.,
204:15-19
58
     Exhibit 5-G, 2021-11-23 Letter Regarding Accommodations


                                                  14
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independently and respond promptly to alarms and problems within the plant and take the proper

corrective measures. (App. at 301-303) 59. Plaintiff testified, though, that when the alarms would

go off, his PTSD/anxiety/depression symptoms were sometimes triggered. (App. at 57) 60. These

symptoms included the inability to focus or concentrate, becoming irritable, and having difficulty

breathing. (App. at 54-57) 61. Plaintiff also testified that these symptoms and “episodes” varied –

sometimes they could happen several times during a week or sometimes only once. (App. at 58-

59) 62. Given the nature of his episodic condition, Plaintiff was essentially requesting that La

Grange designate another employee to be available at the drop of a hat to perform Plaintiff’s

essential job duties, such as responding to problems in the plant, if there was an unpredictable

issue. (App. at 65-66) 63. The law is clear that it is not a reasonable accommodation to reassign

other employees to shadow an individual in case he is not able to perform his job duties. See Burch

v. City of Nacogdoches, 174 F.3d 615, 621 (5th Cir. 1999) (“The ADA does not require an

employer to relieve an employee of any essential functions of his or her job, modify those duties,

reassign existing employees to perform those jobs, or hire new employees to do so”) (citing

Robertson v. Neuromedical Ctr., 161 F.3d 292, 295 (5th Cir. 1998) and Barber, 130 F.3d at 709).

Accordingly, Plaintiff’s only other requested accommodation was not reasonable as a matter of

law.

          Because Plaintiff could not perform the essential functions of his job, with or without

reasonable accommodation, Plaintiff was not a “qualified employee” under the TCHRA, and his


59
     Exhibit 6-B, Job Description – Plant Operator
60
     Exhibit 1, Plaintiff Depo. 55:7-12
61
     Exhibit 1, Plaintiff Depo. 54:20-55:6
62
     Exhibit 1, Plaintiff Depo. 56:20-57:1
63
     Exhibit 1, Plaintiff Depo. 63:21-64:12


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claim necessarily fails. Defendants are entitled to summary judgment on this basis alone.

           ii.   Plaintiff Cannot Establish that He was Terminated On Account of his Disability.

          Even if Plaintiff could show that he was qualified for his Plant Operator position, his

disability discrimination claim still fails because he cannot demonstrate that La Grange terminated

his employment because of his disability. In order to succeed on this element, Plaintiff is required

to prove that he was subject to an adverse employment decision on account of his disability, i.e.,

there was a “causal connection” between his termination and his disability. LHC Group, Inc., 773

F.3d at 697; Burns, 456 F. Supp. 3d at 824. Despite Plaintiff’s assertion that he was terminated on

account of his disability, the facts show that Plaintiff was terminated because he was out on an

indefinite leave of absence and had not demonstrated any ability to return to work in the

foreseeable future. (App. at 284-286, 170) 64.

          As explained above, Plaintiff took a leave of absence from his Plant Operator position

because of his inability to perform the role with his medical restrictions. (App. at 108-110) 65.

While on leave, La Grange notified Plaintiff on several occasions that they were not going to be

able to accommodate him given his limitations and the impact of those limitations on the essential

functions of his job. (App. at 278, 282-283) 66. In January of 2022, when La Grange informed

Plaintiff that he did not receive the safety representative position he had applied for, and Plaintiff

knew that none of the other positions he requested were available, Plaintiff continued to remain on

leave, did not apply for any other positions, and did not attempt to return to work. (App. at 161,




64
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work; Exhibit 1, Plaintiff Depo., 168:3-7
65
     Exhibit 1, Plaintiff Depo., 106:8-11, 106:19-108:8
66
  Exhibit 5-D, 2021-10-22 Letter Regarding Accommodations; Exhibit 5-G, 2021-11-23 Letter
Regarding Accommodations


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165, 169) 67. Indeed, instead of attempting to return to work, Plaintiff began looking for jobs at

other companies while still employed by La Grange. (App. at 166) 68. After the passage of several

months, La Grange contacted Plaintiff to provide him with one last opportunity to return to work.

(App. at 284-286) 69. When Plaintiff did not return to work as requested, La Grange terminated his

employment. (App. at 284-286, 226 70). Plaintiff was not terminated “on account of” his disability,

rather, he was terminated because he failed to return to work, and the only alternative was to place

him on an indefinite leave of absence, which La Grange was not required to provide as a matter of

law. See Reed v. Petroleum Helicopters, Inc., 218 F.3d 477, 481 (5th Cir. 2000) (citing Rogers,

87 F.3d at 759 (holding that an indefinite medical leave is not a reasonable accommodation).

           iii.   Plaintiff Cannot Establish Any Comparators.

          Plaintiff’s prima facie case also fails because Plaintiff does not have any evidence that he

was treated less favorably than other similarly situated employees. McInnis, 207 F.3d at 279–80.

In order for Plaintiff to succeed, Plaintiff must proffer a comparator who was not terminated but

engaged in nearly identical circumstances as Plaintiff. Ross v. Judson Indep. Sch. Dist., 993 F.3d

315, 322 (5th Cir. 2021), cert. denied, 142 S. Ct. 216, 211 L. Ed. 2d 94 (2021) (citing Lee v. Kansas

City S. Ry. Co., 574 F.3d 253, 260 (5th Cir. 2009)). Plaintiff must show that the employees being

compared held the same job or responsibilities, shared the same supervisor or had their

employment status determined by the same person, and have essentially comparable violation

histories. Lee, 574 F.3d at 260.



67
     Exhibit 1, Plaintiff Depo., 159:14-23, 163:20-22, 167:8-19.
68
     Exhibit 1, Plaintiff Depo., 164:23-25.
69
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.
70
  Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work; Exhibit 2, Velasco Depo., 224:20-
23.


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          Here, Plaintiff has not, and cannot, demonstrate that any other employees were treated

more favorably than he under nearly identical circumstances. When asked about how other

employees were treated, Plaintiff admitted that he was not sure how other employees were treated

on a daily basis. (App. at 182) 71. Further, there was never any kind of negative comment negative

comments from management about Plaintiff’s disability. (App. at 71) 72. Plaintiff will be unable to

show that he was treated less favorably than other similarly situated employees.

          Because Plaintiff cannot make out a prima facie case of disability discrimination,

Defendants are entitled to summary judgment on this claim.

B.        La Grange Had a Legitimate, Nondiscriminatory Reason for Plaintiff’s Termination,
          and Plaintiff Cannot Show it was Pretextual.

          Even if the Court finds that Plaintiff could demonstrate a prima facie case of disability

discrimination under the TCHRA, then the burden shifts to the Defendants “to articulate some

legitimate, nondiscriminatory reason” for its actions. Ross, 993 F.3d at 321 (citing McDonnell

Douglas Corp., 411 U.S. at 802). As explained above, La Grange has demonstrated a legitimate,

nondiscriminatory reason for Plaintiff’s termination – Plaintiff’s failure to return to work following

an extended leave of absence (App. at 284-286) 73. An employee’s failure to return to work

following a leave of absence is a legitimate, nondiscriminatory reason for termination, as a matter

of law. Greene v. Santander Consumer USA, Inc., No. 4:18-CV-247-A, 2019 WL 399532, at *4

(N.D. Tex. Jan. 30, 2019) (citing Owens v. Calhoun Cnty. Sch. Dist., 546 F. App'x 445, 448-49

(5th Cir. 2013)) (stating that a failure to return to work is a legitimate and nondiscriminatory reason

for terminating a disabled employee).


71
     Exhibit 1, Plaintiff Depo., 180:6-12
72
     Exhibit 1, Plaintiff Depo., 69:2-4
73
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work


                                                  18
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         Plaintiff has not provided any evidence that La Grange’s legitimate, nondiscriminatory

reason for terminating his employment was instead a pretext for disability discrimination. In order

to survive summary judgment, Plaintiff must offer sufficient evidence to create a genuine issue of

material fact either (1) that the Company’s reason is not true but is instead a pretext for

discrimination (pretext alternative); or (2) that the Company’s reason, while true, is only one of

the reasons for its conduct, and another motivating factor is Plaintiff’s disability (mixed-motive[s]

alternative). Rachid v. Jack In The Box, Inc., 376 F.3d 305, 312 (5th Cir.2004) (citations and

internal quotation marks omitted); see also Evans v. Tex. Dep't of Transp., 547 F.Supp.2d 626, 640

(E.D.Tex.2007) (applying same analysis to cases under ADA), aff'd, 273 Fed.Appx. 391 (5th

Cir.2008) (per curiam); Arismendez v. Nightingale Home Health Care, Inc., 493 F.3d 602, 607

(5th Cir.2007) (“Under the Texas statute, to establish an unlawful employment practice, [the

plaintiff] need only prove that discrimination was ‘a motivating factor’ in the employer's decision,

rather than a ‘but for’ cause as Title VII requires.” (internal citations omitted)). Plaintiff has no

evidence of either.

         In the letter sent to Plaintiff in April of 2022, Ms. Velasco explained in detail why Plaintiff

could not be accommodated and that he needed to return to work. (App. at 284-286) 74. This is after

Plaintiff had previously been advised of La Grange’s policies on remaining out on leave. (App. at

162-163, 281) 75. Yet, Plaintiff did not return to work. Further, Plaintiff’s only “evidence” of

pretext is based on his own assumption that La Grange terminated him for unlawful reasons and




74
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.
75
 Exhibit 1, Plaintiff Depo., 160:3-161:15; Exhibit 5-F, 2021-11-02 Letter Regarding January 6th
Deadline.


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amounts to nothing more than speculation. (App. at 71, 129-130, 137-138, 150, 182-183) 76. For

example, when asked why Plaintiff’s military status or age played a role in the decision to not hire

Plaintiff in the safety representative position, Plaintiff merely responded with, “I don’t know.”

(App. at 137-138) 77. Speculation and belief are insufficient to create a fact issue as to pretext, as a

matter of law. Britt v. Grocers Supply Co., Inc., 978 F.2d 1441, 1451 (5th Cir. 1992) (citing Little

v. Republic Refining Co., 924 F.2d 93 (5th Cir.1991) and Laurence v. Chevron U.S.A., Inc., 885

F.2d 280 (5th Cir.1989)); see also Shackelford v. Deloitte & Touche, LLP, 190 F.3d 398, 405 (5th

Cir. 1999) (citing Swanson v. Gen. Serv. Admin., 110 F.3d 1180, 1186 (5th Cir.1997) (noting that

bare allegations of racial discrimination are too speculative to create a jury question) (citations

omitted)).

          Plaintiff has no evidence that his disability was in any way a motivating factor in La

Grange’s decision to terminate his employment. Therefore, because La Grange has provided a

legitimate, nondiscriminatory reason for Plaintiff’s termination and Plaintiff will be unable to

establish that it was pretextual, Defendants ask the Court to grant their Motion and dismiss

Plaintiff’s claim of disability discrimination in its entirety.

C.        Plaintiff’s Age Discrimination Claim Fails.

          Similarly, Plaintiff cannot establish that he was discriminated against because of his age or

that age was the true reason for his termination. Age discrimination claims follow the same

McDonnell-Douglas burden-shifting framework as other discrimination claims. Tex. Tech Univ.

Health Scis. Ctr.-El Paso v. Flores, 612 S.W.3d 299, 305 (Tex. 2020) (citing Alamo Heights Indep.

Sch. Dist. v. Clark, 544 S.W.3d 755, 782 (Tex. 2018); see also McDonnell Douglas Corp. v. Green,


76
  Exhibit 1, Plaintiff Depo., 69:2-4, 127:18-128:14, 135:21-136:3, 136:22-25, 148:4-18, 180:1-
181:3.
77
     Exhibit 1, Plaintiff Depo., 135:21-136:3, 136:22-25.


                                                   20
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411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973). Therefore, Plaintiff must first create a

presumption of illegal discrimination by establishing a prima facie case of age discrimination

under the TCHRA. Tex. Tech Univ. Health Scis. Ctr.-El Paso, 612 S.W.at 305.

          In an age-discrimination case, Plaintiff establishes a prima facie case with evidence that he

(1) was a member of the protected class (that is, 40 years of age or older), (2) was qualified for the

position at issue, (3) suffered a final, adverse employment action, and (4) was either (a) replaced

by someone significantly younger or (b) otherwise treated less favorably than others who were

similarly situated but outside the protected class. Tex. Tech Univ. Health Scis. Ctr.-El Paso, 612

S.W.at 305 (citing Mission Consol. Indep. Sch. Dist. v. Garcia, 372 S.W.3d 629, 632 (Tex. 2012)

and AutoZone v. Reyes, 272 S.W.3d 588, 592 (Tex. 2008) (per curiam)). Further, Plaintiff must

demonstrate that his age “actually played a role in the [employer’s decision making] process and

had a determinative influence on the outcome.” Reeves v. Sanderson Plumbing Products, Inc. 120

S.Ct. 2097, 2105 (2000) (quoting Hazen Paper Co. v. Biggins, 507 U.S. 604, 610 (1993)).

          Here, Plaintiff cannot establish that his age actually played a role in La Grange’s decision

to terminate his employment. Indeed, when asked about how the Company discriminated against

him based on his age, Plaintiff’s only purported evidence was a conversation in a parking lot that

occurred three years before his termination in which two employees commented that they were

unaware of Plaintiff’s age. (App. at 151, 181) 78. To further illustrate Plaintiff’s speculation on the

merits of his age discrimination claim, Plaintiff admitted that no one has made any negative

comments about his age, and he has no idea how younger employees are treated at the plant. (App.

at 182) 79. Plaintiff even admitted that he was unsure why he was not selected for the safety



78
     Exhibit 1, Plaintiff Depo., 149:9-19, 179:9-25.
79
     Exhibit 1, Plaintiff Depo., 180:1-12.


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representative role that he interviewed for, declining to even speculate that it was because of his

age. (App. at 137-138) 80.

          Regardless, as explained in detail above, see supra, La Grange had a legitimate,

nondiscriminatory reason for Plaintiff’s termination that was not pretextual. When the Company

instructed Plaintiff to return, Plaintiff made the conscious decision not to. (App. at 284-286) 81.

This was after the Company notified Plaintiff, on several occasions, that they were not able to

provide his requested accommodations. (App. at 278, 281-286) 82. Plaintiff’s argument that the

Company discriminated against him because of his age, or that La Grange’s reasoning is

pretextual, does not make logical sense given that the Company was asking Plaintiff to return to

work. (Id.). In any event, Plaintiff has absolutely no evidence suggesting La Grange’s reasons

were a pretext for age discrimination, other than his subjective belief, which is insufficient to defeat

summary judgment as a matter of law. See Auguster v. Vermillion Parish Sch. Bd., 249 F.3d 400,

403 (5th Cir. 2001) (“This court has consistently held that an employee's ‘subjective belief of

discrimination’ alone is not sufficient to warrant judicial relief.”). Accordingly, for these reasons,

Plaintiff’s age discrimination claims should be dismissed in their entirety.

D.        Plaintiff Cannot Establish a Claim for Retaliation.

          Because there is no evidence of a causal link between any protected activity by Plaintiff

and his termination, and because the Company had a legitimate, nondiscriminatory reason for

Plaintiff’s termination, his claim of retaliation fails. In order to recover on a claim of retaliation




80
     Exhibit 1, Plaintiff Depo., 135:21-136:3.
81
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.
82
  Exhibit 5-D, 2021-10-22 Letter Regarding Accommodations; Exhibit 5-F, 2021-11-02 Letter
Regarding January 6th Deadline; Exhibit 5-G, 2021-11-23 Letter Regarding Accommodations;
Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.


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under the TCHRA, Plaintiff must prove (1) that he engaged in a protected activity; (2) that an

adverse employment action occurred; and (3) that a causal link existed between the protected

activity and the adverse action. Campos v. Steves & Sons, Inc., 10 F.4th 515, 525 (5th Cir. 2021)

(citing Pineda v. UPS, Inc., 360 F.3d 483, 487 (5th Cir. 2004)). Protected activity under the Texas

Labor Code is when an employee: (1) opposes a discriminatory practice; (2) makes or files a

charge; (3) files a complaint; or (4) testifies, assists, or participates in any manner in an

investigation, proceeding, or hearing. Tex. Lab. Code § 21.055. The causal connection requirement

of Plaintiff's prima facie case “may be demonstrated by evidence of circumstances that justify an

inference of retaliatory motive, such as protected conduct closely followed by adverse action.”

Martin v. Kroger Co., 65 F. Supp. 2d 516, 559 (S.D. Tex. 1999), aff'd, 224 F.3d 765 (5th Cir.

2000) (quoting Chavez v. City of Arvada, 88 F.3d 861, 866 (10th Cir.1996), cert. denied, 519 U.S.

1056, 117 S.Ct. 684, 136 L.Ed.2d 608 (1997) (citing Burrus v. United Tel. Co. of Kan., Inc., 683

F.2d 339, 343 (10th Cir.), cert. denied, 459 U.S. 1071, 103 S.Ct. 491, 74 L.Ed.2d 633 (1982))).

Similar to above, the McDonnell Douglas burden-shifting framework applies. Campos, 10 F.4th

at 525 (citing Pineda, 360 F.3d at 487).

          Here, the only protected activity that Plaintiff engaged in was the filing of a charge of

discrimination, which occurred on or about January 4, 2022. [Doc. #1-3, pg. 19, ¶9]. A few weeks

after Plaintiff filed this charge of discrimination, Plaintiff provided the Company with an update

on his medical treatment and long-term disability claim. (App. at 165-166) 83. Yet, Plaintiff was

not terminated until over four months later (App. at 226, 284-286) 84, and only after Plaintiff had

been repeatedly told that the Company could not accommodate him and that his requested


83
     Exhibit 1, Plaintiff Depo., 163:23-164:22.
84
 Exhibit 2, Velasco Depo., 224:20-23; Exhibit 5-H, 2022-04-20 Letter Regarding Return to
Work.


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alternative positions were not available. (App. at 278, 282-286, 170) 85. Though close temporal

proximity can be persuasive evidence of retaliation, the Fifth Circuit has noted that a three-month

duration is not sufficient. Garcia v. Professional Contract Servs., Inc., 938 F.3d 236, 243 (5th Cir.

2019) (citing Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268, 273–74 (2001)). Further, Plaintiff’s

only proffered reason for the retaliation was not that he filed a charge of discrimination, but that

he asked for an accommodation and the Company didn’t want him employed anymore. (App. at

183) 86. Plaintiff does not have evidence, and cannot show, that Defendants retaliated against him

in violation of the TCHRA.

          Regardless, and as mentioned at length above, La Grange had a legitimate, nonretaliatory

reason for Plaintiff’s termination. See supra. Following nine months of leave, which included four

months of leave after his STD expired, the Company requested that Plaintiff return to work. (App.

at 284-286 87). Even though Plaintiff had been warned, he did not return to work and La Grange

terminated Plaintiff’s employment for that reason. (App. at 226, 284-286) 88. La Grange’s

reasoning for Plaintiff’s termination had nothing to do with Plaintiff’s filing of his charge of

discrimination or any request for accommodation but was focused instead on Plaintiff’s failure to

return to work – a legitimate, nondiscriminatory reason under applicable law. Greene, 2019 WL

399532, at *4 (citing Owens, 546 F. App'x at 448-4) (failure to return to work is a legitimate and

nondiscriminatory reason for terminating a disabled employee).



85
   Exhibit 5-D, 2021-10-22 Letter Regarding Accommodations; Exhibit 5-G, 2021-11-23 Letter
Regarding Accommodations; Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work; Exhibit
1, Plaintiff Depo., 168:3-7.
86
     Exhibit 1, Plaintiff Depo., 181:4-14.
87
     Exhibit 5-H 2022-04-20 Letter Regarding Return to Work.
88
 Exhibit 2, Velasco Depo., 224:20-23; Exhibit 5-H, 2022-04-20 Letter Regarding Return to
Work.


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         The Fifth Circuit has repeatedly held that if an employer meets their burden of showing a

legitimate, non-retaliatory reason for the plaintiff’s termination, which the Company has done

here, then the employee is required to show that “but for” the employee’s protected activity, he

would not have been terminated. Pineda, 360 F.3d at 487 (citing Medina v. Ramsey Steel Co., Inc.,

238 F.3d 674, 685 (5th Cir.2001) (Plaintiff “must demonstrate that he would not have been

terminated ‘but for’ engaging in the protected activity.”) and Long v. Eastfield College, 88 F.3d

300, 305 n. 4 (5th Cir.1996) (“[E]ven if a plaintiff's protected conduct is a substantial element in a

defendant's decision to terminate an employee, no liability for unlawful retaliation arises if the

employee would have been terminated even in the absence of the protected conduct.”)). Regardless

of whether Plaintiff filed a charge of discrimination, La Grange would have still terminated

Plaintiff’s employment given the fact that Plaintiff remained out of work for nine months with no

intention of returning. (App. at 183) 89. Plaintiff has no evidence suggesting that La Grange’s

rationale was pretextual or otherwise motivated by an intent to retaliate against him. Because

Plaintiff cannot present any evidence creating a genuine issue of material fact as to whether La

Grange retaliated against him, Defendants are entitled to summary judgment on Plaintiff’s

retaliation claim.

E.       Plaintiff’s USERRA Claims Fail.

         Finally, Plaintiff claims that La Grange discriminated and retaliated against him because

of his veteran status, in violation of USERRA. But Plaintiff’s allegations fail because he cannot

establish that his military status was a “substantial or motivating factor” in his termination or that

his protected activity was causally connected to his termination. There is a two-step process



89
 Exhibit 1, Plaintiff Depo., 181:10-14 (“And since I didn’t want to go back to work in the position
where I was having problems…”)


                                                 25
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allocating the burden of proof between the employee and the employer in a USERRA

discrimination case under § 4311(c). 38 U.S.C.A. § 4311(c). The initial burden rests with Plaintiff,

who must establish by a preponderance of the evidence that his military service was a substantial

or motivating factor in the adverse employment action. This Plaintiff cannot do.

          i.   Plaintiff Cannot Establish a Claim of Discrimination Under USERRA.

       Plaintiff has no credible evidence that he was discriminated against on the basis of his

membership in the uniformed services. To establish a discrimination claim under USERRA

(Section 4311), Plaintiff has the initial burden to show that, by a preponderance of the evidence,

“the employee's military service was ‘a substantial or motivating factor’” in the materially adverse

employment decision. See 38 U.S.C. § 4311(c)(1); see also Bradberry v. Jefferson Cty., Tex., 732

F.3d 540, 545 (5th Cir. 2013); Sheehan v. Dep't of the Navy, 240 F.3d 1009, 1013 (Fed. Cir. 2001).

"If this requirement is met, the employer then has the opportunity to come forward with evidence

to show, by a preponderance of the evidence, that the employer would have taken the adverse

action anyway, for a valid reason." Sheehan, 240 F.3d at 1013. The statute is explicit – Defendants

carry the burden of persuasion only after plaintiff makes an initial showing that military service

was "a substantial or motivating factor" and he was subject to a materially adverse employment

decision. See 38 U.S.C. § 4311(c).

       Here, Plaintiff has not provided any evidence that his military status was a motivating

factor in the Company’s decision to terminate his employment. See Bennett v. Dallas Indep. Sch.

Dist., 936 F. Supp. 2d 767, 788 (N.D. Tex. 2013) (stating that the plaintiff had not pointed to any

evidence that the employer’s decisions regarding plaintiff’s employment related to his protected

status as a member of the military); see also Sheehan, 240 F.3d at 1014 (holding that “in USERRA

[discrimination] actions there must be an initial showing by the employee that military status was




                                                26
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at least a motivating or substantial factor”) (emphasis added). Rather, Plaintiff’s employment with

the Company ended after Plaintiff was told, on numerous occasions, that the Company could not

accommodate him given his inability to perform the essential functions of his job and that none of

the positions Plaintiff applied for were available. (App. at 169, 278, 282-286) 90. Plaintiff even

admitted that no one at the Company made any negative comments about his military service.

(App. at 183) 91. Plaintiff’s own speculation on why he was terminated is not even related to his

military service, but rather his request for an accommodation. (App. at 182) 92. When Plaintiff did

not return to work, the Company terminated his employment. (App. at 284-286) 93. Plaintiff’s

military service was not a substantial or motivating factor in the termination of his employment –

the undisputed evidence shows that Plaintiff’s failure to return to work was the sole reason. (Id.).

          Assuming, arguendo, that Plaintiff can meet his initial burden (which he cannot), the

Company has provided sufficient evidence that La Grange would have taken the adverse action

anyway, for a valid reason. Bennett, 936 F. Supp. 2d at 787 (citing Snowman v. IMCO Recycling,

Inc., 347 F. Supp. 2d 338, 342 (N.D. Tex. 2004)). In November of 2021, the Company notified

Plaintiff that that his STD was set to expire on January 6, 2022, and that the Company does not

generally permit employees to remain on leave for longer than six months without approval or

other leave. (App. at 162-163, 265-266, 281) 94. Given that Plaintiff was applying for long-term




90
   Exhibit 1, Plaintiff Depo., 167:16-19; Exhibit 5-D, 2021-10-22 Letter Regarding
Accommodations; Exhibit 5-G, 2021-11-23 Letter Regarding Accommodations; Exhibit 5-H,
2022-04-20 Letter Regarding Return to Work.
91
     Exhibit 1, Plaintiff Depo., 181:1-3.
92
     Exhibit 1, Plaintiff Depo., 180:13-25.
93
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.
94
  Exhibit 1, Plaintiff Depo., 160:3-161:15; Exhibit 5, Velasco Decl., ¶7, 10; Exhibit 5-F, 2021-
11-02 Letter.


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disability benefits, La Grange did not terminate Plaintiff on January 6, but at the same time,

Plaintiff was aware of the Company’s policies. (App. at 162-163, 165-166) 95. Eventually, Unum,

the third-party administrator of the Company’s long-term disability benefits, denied Plaintiff’s

request for long-term disability in February of 2022. (App. at 216, 165, 266) 96. Even though

Plaintiff was aware of the Company’s policies regarding remaining on leave, Plaintiff did not apply

for any positions and instead remained on leave for several more months. (App. at 169, 284-286) 97.

Eventually, the Company notified Plaintiff that if he did not return to work, he would be

terminated. (App. at 284-286) 98. When Plaintiff did not return to work as requested, La Grange

terminated Plaintiff’s employment. (App. at 226, 284-286) 99. Plaintiff’s military status played no

role in any of the Company’s decisions, and the Company would have reached the same result

with or without Plaintiff’s military service. (App. at 137-138) 100.

          Plaintiff further alleges that the Company did not select Plaintiff for the safety

representative position he applied for because of his military service. But as with his termination,

Plaintiff has absolutely no evidence that his veteran status played any role in the Company’s

decision to select another individual for the position instead of Plaintiff. On the contrary, the

undisputed evidence shows that Michael Johnson, Director of Operations STX, interviewed five

other individuals for the safety representative position and ultimately chose another individual for



95
     Exhibit 1, Plaintiff Depo., 160:3-161:15, 163:23-164:1.
96
  Exhibit 2, Velasco Depo., 73:2-7; Exhibit 1, Plaintiff Depo., 163:5-7; Exhibit 5, Velasco Decl.,
¶9.
97
     Exhibit 1, Plaintiff Depo., 167:8-19; Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.
98
     Exhibit 5-H, 2022-04-20 Letter Regarding Return to Work.
99
 Exhibit 2, Velasco Depo., 224:20-23; Exhibit 5-H, 2022-04-20 Letter Regarding Return to
Work.
100
      Exhibit 1, Plaintiff Depo., 135:25-136:25.


                                                   28
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the position who was also a military veteran. (App. at 305, 132-133, 225) 101. In light of the fact

that another veteran was chosen over Plaintiff for the position, he cannot show that his miliary

service was a motivating factor in La Grange’s decision not to choose him instead. Furthermore,

Plaintiff offers only mere conjecture in support of his belief that he was not chosen for the position

because he is a veteran, which is not competent summary judgment evidence as a matter of law.

(App. at 138) 102. Plaintiff’s claim necessarily fails.

          Therefore, because Plaintiff cannot establish that his military status was a motivating factor

in any employment decision, and because the undisputed evidence shows La Grange would have

taken the same action regardless of Plaintiff’s military status, Defendants are entitled to summary

judgment on Plaintiff’s USERRA discrimination claim as a matter of law.

            ii.   Plaintiff Cannot Establish a Claim of Retaliation Under USERRA.

          Although the term “retaliation” is not used in the statute, USERRA also provides that

employers are prohibited from discriminating in employment against and may not take adverse

employment actions against the following qualified individuals: “(1) those who have taken action

to enforce protections offered by USERRA, (2) those who have testified in a USERRA proceeding,

(3) those who have participated in a USERRA investigation, and (4) those who have exercised a

right provided for by USERRA.” See 38 U.S.C. § 4311(b); Otero v. New Mexico Corr. Dep't, 640

F. Supp. 2d 1346, 1353 (D.N.M. 2009). While it “does not use the term ‘retaliation,’ the gravamen

of [§ 4311(b)] is to prohibit adverse action taken in retaliation for involvement in the assertion of

substantive rights established by USERRA.” Quick v. Frontier Airlines, Inc., 544 F.Supp.2d 1197,

1208 (D. Colo. 2008).


101
  Exhibit 7, Johnson Decl., ¶3; Exhibit 1, Plaintiff Depo., 130:20-131:9; Exhibit 2, Velasco
Depo., 204:15-19.
102
      Exhibit 1, Plaintiff Depo., 136:4-21.


                                                   29
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          Although his pleading is unclear, Plaintiff purportedly alleges that Defendants retaliated

against him for filing a charge of discrimination alleging violations of USERRA. Like Plaintiff’s

claims of retaliation under the TCHRA, Plaintiff’s USERRA retaliation claim also fails because

Plaintiff has no evidence that his filing of a charge of discrimination was a “motivating factor” in

La Grange’s decision to terminate his employment or to overcome the undisputed evidence that

his employment would have been terminated regardless of the charge of discrimination. As

explained repeatedly above, Plaintiff filed his charge of discrimination on or about January 4,

2022. [Doc. #1-3, pg. 19, ¶9]. For the next several months, Plaintiff did not apply for other

positions or return to work (App. at 169) 103, despite having full knowledge that his

accommodations could not be granted and the positions he applied for were not available. (App.

at 278, 282-283) 104. At no point has Plaintiff shown that his termination was because he filed a

charge of discrimination alleging USERRA violations rather than his failure to return to work.

(App. at 284-286 105). Even Plaintiff admits that his claim of retaliation refers to his request for a

disability accommodation, not the filing of a charge of discrimination or anything else protected

under USERRA. (App. at 183) 106. Simply put, Plaintiff has no evidence that La Grange terminated

his employment in retaliation for raising a claim for USERRA violations or for any other reason

related to his membership in the uniformed services. And in contrast, La Grange has provided

overwhelming evidence that the reason for Plaintiff’s termination had nothing to do with his

military status but instead was entirely because Plaintiff did not return to work. (App. at 284-



103
      Exhibit 1, Plaintiff Depo., 167:8-19.
104
  Exhibit 5-D, 2021-10-22 Letter Regarding Accommodations; Exhibit 5-G, 2021-11-23 Letter
Regarding Accommodations.
105
      Exhibit 5-H 2022-04-20 Letter Regarding Return to Work.
106
      Exhibit 1, Plaintiff Depo., 181:4-14.


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286) 107. For these reasons, Plaintiff’s claim of retaliation under USERRA fails, and Defendants

are entitled to summary judgment as a matter of law.

                                      VI.    CONCLUSION

          Based on the foregoing, Defendants respectfully requests that the Court grant its Motion

for Summary Judgment in its entirety and dismiss Plaintiff’s claims with prejudice and grant

Defendants such other and further relief to which it may be justly entitled.




107
      Exhibit 5-H 2022-04-20 Letter Regarding Return to Work.


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                                     CERTIFICATE OF SERVICE

       I hereby certify that on January 4, 2024, the foregoing was electronically filed with the
Clerk of the Court, utilizing the ECF system, which sent notification of such filing to the following:

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